                                            Case 18-22684                      Doc 23              Filed 10/19/18                   Page 1 of 26
 Fill in this information to identify your case:

 Debtor 1                   Frank J Sarro, III
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Margaret E Sarro
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $          1,257,244.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              12,483.54

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          1,269,727.54

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $          1,458,642.80

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $             427,855.83

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             108,727.00


                                                                                                                                     Your total liabilities $                 1,995,225.63


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                3,274.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                5,467.67

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
                                        Case 18-22684                Doc 23     Filed 10/19/18            Page 2 of 26
 Debtor 1      Frank J Sarro, III
 Debtor 2      Margaret E Sarro                                                           Case number (if known) 18-22684

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       3,274.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            427,855.83

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            427,855.83




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                              Case 18-22684                           Doc 23         Filed 10/19/18              Page 3 of 26
 Fill in this information to identify your case and this filing:

 Debtor 1                    Frank J Sarro, III
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Margaret E Sarro
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MARYLAND

 Case number            18-22684                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2867 Cox Neck Road
        Street address, if available, or other description
                                                                                      Single-family home                          Do not deduct secured claims or exemptions. Put
                                                                                       Duplex or multi-unit building               the amount of any secured claims on Schedule D:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Chester                           MD        21619-0000                        Land                                        entire property?          portion you own?
        City                              State              ZIP Code                 Investment property                             $1,257,244.00               $1,257,244.00
                                                                                      Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                      Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                      Debtor 1 only                               Tenancy by Entirety
        Queen Annes                                                                   Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $1,257,244.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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 Debtor 1        Frank J Sarro, III
 Debtor 2        Margaret E Sarro                                                                                   Case number (if known)       18-22684

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Chrysler                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Aspen                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2008                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                191,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Location: 2867 Cox Neck Road,
        Chester MD 21619                                        Check if this is community property                                    $4,826.00                  $4,826.00
                                                                     (see instructions)



  3.2    Make:       John Deere                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Lawn tractor - non-operable
                                                                Check if this is community property                                      $100.00                    $100.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:       Boston Whaler                             Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      17 Montauk                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       1998                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $4,560.00                    $2,280.00
         Own with Matthew Sarro                                      (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $7,206.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    See Household Goods Sheet                                                                                                       $2,580.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
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 Debtor 1       Frank J Sarro, III
 Debtor 2       Margaret E Sarro                                                                    Case number (if known)     18-22684

     Yes.     Describe.....

                                    4 TVs, 1 computer (10 yrs old)                                                                                 $150.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Fishing gear (various rods, reels, lures)                                                                      $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Men's clothing                                                                                                 $100.00


                                    Women's clothing                                                                                               $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Wedding band, costume jewelry                                                                                $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.     Describe.....

                                    Cats (3)                                                                                                           $3.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.     Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $4,233.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                                 Case 18-22684                            Doc 23                Filed 10/19/18       Page 6 of 26
 Debtor 1          Frank J Sarro, III
 Debtor 2          Margaret E Sarro                                                                                                Case number (if known)   18-22684

                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                      Cash                                    $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               Shore United Bank                                                            $724.03



                                              17.2.       Checking                               Shore United Bank                                                              $92.51



                                              17.3.       Savings                                Merrill Lynch                                                                $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

                                                  Sarro & Associates                                                                    100%          %                           $1.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
Official Form 106A/B                                                                      Schedule A/B: Property                                                                  page 4
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 Debtor 1       Frank J Sarro, III
 Debtor 2       Margaret E Sarro                                                                         Case number (if known)      18-22684

     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              Captain's License                                                                                            $1.00


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes.     Describe each claim.........

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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 Debtor 1        Frank J Sarro, III
 Debtor 2        Margaret E Sarro                                                                                                 Case number (if known)       18-22684


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.      Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.      Give specific information..

                                                          Project investments in GVU, Inc.                                                                                           $1.00


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $1,019.54


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes.      Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        Printer                                                                                                                                    $25.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes.      Describe.....


41. Inventory
     No
     Yes.      Describe.....


42. Interests in partnerships or joint ventures
     No
     Yes.      Give specific information about them...................
                                      Name of entity:                                                                              % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes.      Describe.....
Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
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                                              Case 18-22684                         Doc 23              Filed 10/19/18                     Page 9 of 26
 Debtor 1         Frank J Sarro, III
 Debtor 2         Margaret E Sarro                                                                                                      Case number (if known)   18-22684



44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                      $25.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,257,244.00
 56. Part 2: Total vehicles, line 5                                                                             $7,206.00
 57. Part 3: Total personal and household items, line 15                                                        $4,233.00
 58. Part 4: Total financial assets, line 36                                                                    $1,019.54
 59. Part 5: Total business-related property, line 45                                                              $25.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $12,483.54              Copy personal property total              $12,483.54

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,269,727.54




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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                                       Case 18-22684                      Doc 23       Filed 10/19/18             Page 10 of 26
 Fill in this information to identify your case:

 Debtor 1                 Frank J Sarro, III
                          First Name                        Middle Name                     Last Name

 Debtor 2                 Margaret E Sarro
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2008 Chrysler Aspen 191,000 miles                                                                                          Md. Code Ann., Cts. & Jud.
      Location: 2867 Cox Neck Road,
                                                                      $4,826.00                                   $4,826.00
                                                                                                                                 Proc. § 11-504(f)(1)(i)(1)
      Chester MD 21619                                                                       100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                             any applicable statutory limit

      John Deere                                                                                                                 Md. Code Ann., Cts. & Jud.
      Lawn tractor - non-operable
                                                                           $100.00                                  $100.00
                                                                                                                                 Proc. § 11-504(f)(1)(i)(1)
      Line from Schedule A/B: 3.2                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      1998 Boston Whaler 17 Montauk                                                                                              Md. Code Ann., Cts. & Jud.
      Own with Matthew Sarro
                                                                      $2,280.00                                   $2,280.00
                                                                                                                                 Proc. § 11-504(f)(1)(i)(1)
      Line from Schedule A/B: 4.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      See Household Goods Sheet                                                                                                  Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 6.1
                                                                      $2,580.00                                   $2,000.00
                                                                                                                                 Proc. § 11-504(b)(4)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      See Household Goods Sheet                                                                                                  Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 6.1
                                                                      $2,580.00                                     $580.00
                                                                                                                                 Proc. § 11-504(f)(1)(i)(1)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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                                       Case 18-22684                   Doc 23         Filed 10/19/18            Page 11 of 26
 Debtor 1    Frank J Sarro, III
 Debtor 2    Margaret E Sarro                                                                            Case number (if known)     18-22684
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     4 TVs, 1 computer (10 yrs old)                                                                                               Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 7.1
                                                                         $150.00                                  $150.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fishing gear (various rods, reels,                                                                                           Md. Code Ann., Cts. & Jud.
     lures)
                                                                         $200.00                                  $200.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
     Line from Schedule A/B: 9.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Men's clothing                                                                                                               Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 11.1
                                                                         $100.00                                  $100.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Women's clothing                                                                                                             Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 11.2
                                                                         $200.00                                  $200.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding band, costume jewelry                                                                                                Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 12.1
                                                                      $1,000.00                                 $1,000.00
                                                                                                                                  Proc. § 11-504(b)(5)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cats (3)                                                                                                                     Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 13.1
                                                                            $3.00                                    $3.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                                                                         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 16.1
                                                                         $100.00                                  $100.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Shore United Bank                                                                                                  42 U.S.C. § 407
     Line from Schedule A/B: 17.1
                                                                         $724.03                                  $724.03
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Shore United Bank                                                                                                  42 U.S.C. § 407
     Line from Schedule A/B: 17.2
                                                                          $92.51                                   $92.51
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Merrill Lynch                                                                                                       Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 17.3
                                                                         $100.00                                  $100.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Sarro & Associates                                                                                                           Md. Code Ann., Cts. & Jud.
     100%
                                                                            $1.00                                    $1.00
                                                                                                                                  Proc. § 11-504(b)(5)
     Line from Schedule A/B: 19.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                       Case 18-22684                   Doc 23         Filed 10/19/18            Page 12 of 26
 Debtor 1    Frank J Sarro, III
 Debtor 2    Margaret E Sarro                                                                            Case number (if known)     18-22684
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Captain's License                                                                                                            Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 27.1
                                                                            $1.00                                    $1.00
                                                                                                                                  Proc. § 11-504(b)(5)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Project investments in GVU, Inc.                                                                                             Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 35.1
                                                                            $1.00                                    $1.00
                                                                                                                                  Proc. § 11-504(b)(5)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Printer                                                                                                                      Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 39.1
                                                                          $25.00                                   $25.00
                                                                                                                                  Proc. § 11-504(f)(1)(i)(1)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                          Case 18-22684                   Doc 23          Filed 10/19/18            Page 13 of 26
 Fill in this information to identify your case:

 Debtor 1                   Frank J Sarro, III
                            First Name                      Middle Name                     Last Name

 Debtor 2                   Margaret E Sarro
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:               $836,522.00            $1,257,244.00                      $0.00
         Creditor's Name                          2867 Cox Neck Road Chester, MD
                                                  21619 Queen Annes County
         Attn: Bankruptcy
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 982238                          apply.
         El Paso, TX 79998                         Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)    Deed of Trust
       community debt

 Date debt was incurred          7/2008                    Last 4 digits of account number        3846

 2.2     Internal Revenue Service                 Describe the property that secures the claim:               $259,805.03            $1,257,244.00                      $0.00
         Creditor's Name                          2867 Cox Neck Road Chester, MD
                                                  21619 Queen Annes County
                                                  As of the date you file, the claim is: Check all that
         31 Hopkins Plaza                         apply.
         Baltimore, MD 21201                       Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)    Federal Tax Lien
       community debt

 Date debt was incurred          2010                      Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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                                         Case 18-22684                  Doc 23             Filed 10/19/18             Page 14 of 26

 Debtor 1 Frank J Sarro, III                                                                               Case number (if known)   18-22684
              First Name                  Middle Name                     Last Name
 Debtor 2 Margaret E Sarro
              First Name                  Middle Name                     Last Name


 2.3    Internal Revenue Service                   Describe the property that secures the claim:                  $27,190.58        $1,257,244.00     $14,145.61
        Creditor's Name                            2867 Cox Neck Road Chester, MD
                                                   21619 Queen Annes County
                                                   As of the date you file, the claim is: Check all that
        31 Hopkins Plaza                           apply.
        Baltimore, MD 21201                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    Federal Tax Lien
       community debt

 Date debt was incurred         3/14/2017                   Last 4 digits of account number


 2.4    PNC Mortgage                               Describe the property that secures the claim:                 $147,872.00        $1,257,244.00             $0.00
        Creditor's Name                            2867 Cox Neck Road Chester, MD
                                                   21619 Queen Annes County
        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        3232 Newmark Drive                         apply.
        Miamisburg, OH 45342                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    Deed of Trust
       community debt

 Date debt was incurred         2/2007                      Last 4 digits of account number        5289

 2.5    Ruth Stonik                                Describe the property that secures the claim:                 $187,253.19        $1,257,244.00    $187,253.19
        Creditor's Name                            2867 Cox Neck Road Chester, MD
                                                   21619 Queen Annes County
                                                   As of the date you file, the claim is: Check all that
        4822 Water Park Drive                      apply.
        Belcamp, MD 21017                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         6/30/2016                   Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor 1 Frank J Sarro, III                                                                     Case number (if known)        18-22684
              First Name                Middle Name                  Last Name
 Debtor 2 Margaret E Sarro
              First Name                Middle Name                  Last Name


   Add the dollar value of your entries in Column A on this page. Write that number here:                     $1,458,642.80
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                    $1,458,642.80

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Frank J Sarro, III
                            First Name                      Middle Name                        Last Name

 Debtor 2                   Margaret E Sarro
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $133,615.2
 2.1          Internal Revenue Service                               Last 4 digits of account number                                 2       $133,615.22                    $0.00
              Priority Creditor's Name
              P. O. Box 21126                                        When was the debt incurred?
              Centralized Insolvency Unit
              Philadelphia, PA 19114
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Federal Income taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 4
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 Debtor 1 Frank J Sarro, III
 Debtor 2 Margaret E Sarro                                                                                 Case number (if known)        18-22684

                                                                                                                           $259,805.0
 2.2       Internal Revenue Service                                  Last 4 digits of account number                                3      $259,805.03              $0.00
           Priority Creditor's Name
           P. O. Box 21126                                           When was the debt incurred?
           Centralized Insolvency Unit
           Philadelphia, PA 19114
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Federal Income Taxes

 2.3       Internal Revenue Service                                  Last 4 digits of account number                       $27,190.58       $27,190.58              $0.00
           Priority Creditor's Name
           P. O. Box 21126                                           When was the debt incurred?
           Centralized Insolvency Unit
           Philadelphia, PA 19114
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Federal Income Taxes

 2.4       Internal Revenue Service                                  Last 4 digits of account number                         $7,245.00       $7,245.00              $0.00
           Priority Creditor's Name
           Centralized Insolvency Unit                               When was the debt incurred?         2015
           P. O. Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            income taxes

 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 4
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 Debtor 1 Frank J Sarro, III
 Debtor 2 Margaret E Sarro                                                                                 Case number (if known)            18-22684

       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Citicards CBNA                                            Last 4 digits of account number         4582                                                      $68,427.00
            Nonpriority Creditor's Name
            Citicorp Credit Svc/Centralized                           When was the debt incurred?             9/1993
            Bankrupt
            P.O. Box 790040
            Saint Louis, MO 63179
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                            Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                   Student loans
            debt                                                       Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      Other. Specify     Credit card charges


 4.2        Nudelman & Associates CPAs, LLC                           Last 4 digits of account number                                                                   $20,000.00
            Nonpriority Creditor's Name
            2308 Cavesdale Road                                       When was the debt incurred?
            Owings Mills, MD 21117
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                            Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                   Student loans
            debt                                                       Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      Other. Specify     Professional services


 4.3        Rosenberg Martin Greenberg, LLP                           Last 4 digits of account number                                                                   $20,300.00
            Nonpriority Creditor's Name
            25 South Charles Street, Suite 2115                       When was the debt incurred?
            Baltimore, MD 21201
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                            Contingent
             Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                   Student loans
            debt                                                       Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                      Other. Specify     Professional services

 Part 3:       List Others to Be Notified About a Debt That You Already Listed


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 3 of 4
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 Debtor 1 Frank J Sarro, III
 Debtor 2 Margaret E Sarro                                                                              Case number (if known)    18-22684

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $              427,855.83
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                    0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                    0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $              427,855.83

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              108,727.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              108,727.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                        Case 18-22684                      Doc 23     Filed 10/19/18            Page 20 of 26
 Fill in this information to identify your case:

 Debtor 1                 Frank J Sarro, III
                          First Name                         Middle Name                Last Name

 Debtor 2                 Margaret E Sarro
 (Spouse if, filing)      First Name                         Middle Name                Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.           You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                            Case 18-22684                       Doc 23     Filed 10/19/18      Page 21 of 26
 Fill in this information to identify your case:

 Debtor 1                   Frank J Sarro, III
                            First Name                            Middle Name                Last Name

 Debtor 2                   Margaret E Sarro
 (Spouse if, filing)        First Name                            Middle Name                Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MARYLAND

 Case number           18-22684
 (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                               Check all schedules that apply:

    3.1                                                                                                       Schedule D, line
                Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                Number             Street
                City                                      State                               ZIP Code




    3.2                                                                                                       Schedule D, line
                Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                Number             Street
                City                                      State                               ZIP Code




Official Form 106H                                                                       Schedule H: Your Codebtors                                  Page 1 of 1
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                                     Case 18-22684          Doc 23        Filed 10/19/18               Page 22 of 26



Fill in this information to identify your case:

Debtor 1                      Frank J Sarro, III

Debtor 2                      Margaret E Sarro
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MARYLAND

Case number               18-22684                                                                       Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Self-employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Sarro & Associates

       Occupation may include student        Employer's address
                                                                   2867 Cox Neck Road
       or homemaker, if it applies.
                                                                   Chester, MD 21619

                                             How long employed there?         7 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
                                 Case 18-22684             Doc 23        Filed 10/19/18                   Page 23 of 26


Debtor 1    Frank J Sarro, III
Debtor 2    Margaret E Sarro                                                                      Case number (if known)    18-22684


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                 0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                 0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                 0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                 0.00
      5e.    Insurance                                                                     5e.        $              0.00     $                 0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $                 0.00
      5g.    Union dues                                                                    5g.        $              0.00     $                 0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                 0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                 0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                 0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $           0.00        $              0.00
      8d. Unemployment compensation                                                        8d.        $           0.00        $              0.00
      8e. Social Security                                                                  8e.        $       2,383.00        $            891.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                   0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                   0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $           2,383.00        $            891.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               2,383.00 + $           891.00 = $           3,274.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.    $          3,274.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
                                 Case 18-22684                  Doc 23             Filed 10/19/18          Page 24 of 26



Fill in this information to identify your case:

Debtor 1                Frank J Sarro, III                                                                  Check if this is:
                                                                                                             An amended filing
Debtor 2                Margaret E Sarro                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MARYLAND                                                    MM / DD / YYYY

Case number           18-22684
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for    Dependent’s relationship to       Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............     Debtor 1 or Debtor 2              age            live with you?

      Do not state the                                                                                                                No
      dependents names.                                                                                                               Yes
                                                                                                                                      No
                                                                                                                                      Yes
                                                                                                                                      No
                                                                                                                                      Yes
                                                                                                                                      No
                                                                                                                                      Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                         2,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                          0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                          0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                        200.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                        110.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                        538.00




Official Form 106J                                                   Schedule J: Your Expenses                                                        page 1
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Debtor 1     Frank J Sarro, III
Debtor 2     Margaret E Sarro                                                                          Case number (if known)      18-22684

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 467.82
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 194.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                  20.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                  80.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  394.00
      15c. Vehicle insurance                                                               15c. $                                                   72.75
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    IRS Levies - $133.65, $357.45                                       21. +$                                                491.10
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,467.67
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,467.67
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,274.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,467.67

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -2,193.67

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: The Debtors rental expense is projected.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                          Case 18-22684                   Doc 23   Filed 10/19/18         Page 26 of 26




 Fill in this information to identify your case:

 Debtor 1                    Frank J Sarro, III
                             First Name                     Middle Name              Last Name

 Debtor 2                    Margaret E Sarro
 (Spouse if, filing)         First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number              18-22684
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

               Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Frank J Sarro, III                                                     X   /s/ Margaret E Sarro
              Frank J Sarro, III                                                         Margaret E Sarro
              Signature of Debtor 1                                                      Signature of Debtor 2

              Date       October 19, 2018                                                Date    October 19, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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